Case 2:05-Cr-20283-BBD Document 10 Filed 08/17/05 Page 1 of 2 Page|D 9

|N THE UN|TED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 'FFLED BY __W..._._.. D~C.

WESTERN D|V|S|ON
ns ana 11 PH 3= 53

 

 

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U,S. E?STQLC wUHT
Plainu'ff, W .
v. Cr. No. OS‘M "D
_QE&&!§(LM&\T`,
Defendant.

 

ORDER ON ARRA|GNMENT

 

This cause came to be heard on Q%’ '|_" , 2005. The Assistant United States

Attorney appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is retained/appointed:

NAME: p&/M hb/MMA.

ADDRESS:

 

 

 

TELEPHONE:

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause shown
to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on hisf her present bond.

*/ The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

United States Magistrate Judge

Charges: 9 S$\OU F A

Assistant U.S. Attorney assigned to case: _&L

The defendant's age is: Z§F .

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRCrP on t?’[c? 495

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20283 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

